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      UNITED STATES OF AMERICA                     Hon.        c
                                                   Crim. No.
                   V.



      CREAGHAN HARRY,
      LESTER STOCKEfl, and
      ELLIOT LOEWENSTERN

                                     INDICTMENT

            The Grand Jury in and for the District of New Jersey, sitting at Newark,

      charges:

            1.     At all times relevant to this Indictment:

                                  Individuals and Entities

                   a.     Defendant CREAGHAN HARRY was a United States citizen

      who resided in Highland Beach, Florida.

                   b.     Defendant LESTER STOCKE’fl’ was a United States citizen

      who resided in the country of Colombia.

                   c.     Defendant ELLIOT LOEWENSTERN was a United States

      citizen who resided in Boca Raton, Florida.

                   d.     PCS CC, LLC (“Procall”), was a Delaware Corporation and a

      call center company that purported to do business throughout Latin America,

      including in Colombia.

                   e.     Telehealth Doctor’s Network, LLC (dba “Video Doctor USA”)

      was a Delaware corporation and purported telemedicine company, doing

      business throughout the United States.
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            f.       Telemed Health Group, LLC (dba “AffordADoc”) (collectively,

with Video Doctor USA, the “Video Doctor Network”) was a Delaware

corporation and purported telemedicine company, doing business throughout

the United States.

            g.       STOCKE’fl’ and HARRY owned, controlled, and/or operated

the following entities, which were used in the scheme:

                                                             Incorporation
           Entity               Date of Incorporation
                                                               Location

     Les Raphael, LLC              January 19, 2010          State of Florida


    NPC Consulting, LLC            October 10, 2011          State of Florida


            SCPL                   January 15, 2014         State of Wyoming



      Best Dialer, LLC             August 20, 2014          State of Wyoming




     Video Doctor USA             September 22, 2014        State of Delaware




 Droneza Consulting Group             May 5, 2016          Dominican Republic



         Affordadoc                  May 27, 2016           State of Delaware



           Procall                   June 13, 2016          State of Delaware




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                             The Medicare Program

             h.    The Medicare program was a federal health care program

providing benefits to persons who were 65 years or older, or disabled.

Medicare was administered by the Centers for Medicare and Medicaid Services

(“CMS”), a federal agency under the United States Department of Health and

Human Services.     Individuals who received benefits under Medicare were

referred to as Medicare “beneficiaries.”

             i.    Medicare was a “Federal health care program” as defined in

Title 42, United States Code, Section l320a-7b(f) and a “health care benefit

program” as defined in Title 18, United States Code, Section 24(b).

             j.    Medicare was divided into four parts which helped cover

specific services: hospital insurance (Part A), medical insurance (Part B),

Medicare Advantage (Part C), and prescription drug benefits (Part D).

             k.    Specifically, Medicare Part B covered medically necessary

physician office services and outpatient care, including the ordering of durable

medical equipment (“DME”), such as Off-The-Shelf (“OTS”) ankle braces, knee

braces, back braces, elbow braces, wrist braces, and hand braces (collectively

“braces”).   OTS braces require minimal self-adjustment for appropriate use

and do not require expertise in trimming, bending, molding, assembling, or

customizing to fit to the individual.

             1.    CMS contracted with various companies to receive,

adjudicate, process, and pay Part B claims, including claims for braces.      CMS

also contracted with the Program Safeguard Contractor, or ZPIC, which are

contractors that investigate fraud, waste, and abuse.    As part of an

investigation, the Program Safeguard Contractor or ZPIC may conduct a
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clinical review of medical records to ensure that payment is made only for

services that meet all Medicare coverage and medical necessity requirements.

               m.   DME companies, physicians, and other health care providers

that provided services to Medicare beneficiaries were referred to as Medicare

“providers.”    To participate in Medicare, providers were required to submit an

application in which the providers agreed to abide by the policies and

procedures, rules, and regulations governing reimbursement.      To receive

Medicare funds, enrolled providers, together with their authorized agents,

employees, and contractors, were required to abide by all provisions of the

Social Security Act, the regulations promulgated under the Act, and applicable

policies, procedures, rules, and regulations issued by CMS and its authorized

agents and contractors.     Health care providers were given and provided with

online access to Medicare manuals and services bulletins describing proper

billing procedures and billing rules and regulations.

               n.   If Medicare approved a provider’s application, Medicare

assigned the provider a Medicare Provider Identification Number (“PIN” or

“provider number”).     A health care provider who was assigned a Medicare PIN

and provided services to beneficiaries was able to submit claims for

reimbursement to the Medicare contractor/carrier that included the PIN

assigned to that medical provider.    Payments under the Medicare program

were often made directly to a provider of the goods or services, rather than to a

Medicare beneficiary.    This payment occurred when the provider submitted the

claim to Medicare for payment, either directly or through a billing company.

               o.   Under Medicare Part B, claims for DME were required to be

reasonable and medically necessary for the treatment or diagnosis of the
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patient’s illness or injury.   Medicare uses the term “ordering/referring”

provider to identify the physician or nurse practitioner who ordered, referred,

or certified an item or service reported in that claim. Individuals ordering or

referring these services were required to have the appropriate training,

qualifications, and licenses to provide such services.   A Medicare claim was

required to set forth, among other things, the beneficiary’s name, the date the

services were provided, the cost of the services, the name and identification

number of the physician or other health care provider who had ordered the

services, and the name and identification number of the DME provider that

had provided the services.      Providers conveyed this information to Medicare by

submitting claims using billing codes and modifiers.

             p.     To be reimbursed from Medicare for DME, the claim had to

be reasonable, medically necessary, documented, and actually provided as

represented to Medicare.       Medicare would not pay claims procured through

kickbacks and bribes.

             q.     Medicare regulations required health care providers enrolled

with Medicare to maintain complete and accurate patient medical records

reflecting the medical assessment and diagnoses of their patients, as well as

records documenting actual treatment of the patients to whom services were

provided and for whom claims for payment were submitted by the physician.

Medicare requires complete and accurate patient medical records so that

Medicare may verify that the services were provided as described on the claim

form.   These records were required to be sufficient to permit Medicare, through

its contractors, to review the appropriateness of Medicare payments made to

the health care provider.
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                  r.     To receive reimbursement for a covered service from

Medicare, a provider must submit a claim, either electronically or using a form

(e.g., a CMS—1500 form or UB-92), containing the required information

appropriately identifying the provider, patient, and services rendered, among

other things.

                                       Telemedicine

       2.         Telemedicine provided a means of connecting patients to health

care providers by using telecommunications technology, such as video or the

telephone.

       3.         Telemedicine companies hired physicians and other health care

providers to furnish telemedicine services to individuals.           Telemedicine

companies typically paid health care providers a fee to conduct consultations

with patients.         In order to generate revenue, telemedicine companies typically

either billed the Medicare program or other health insurance program, or

offered a membership program to customers.

       4.         Medicare Part B covered expenses for specified telehealth services

if certain requirements were met.         These requirements included (a) that the

beneficiary was located in a rural area (outside a Metropolitan Statistical Area

or in a rural health professional shortage area); (b) that the services were

delivered via an interactive audio and video telecommunications system; and (c)

that the beneficiary was at a practitioner’s office or a specified type of medical

facility   —   not at a beneficiary’s home   —   during the telehealth service furnished

by a remote practitioner.

       5.         Some telemedicine companies offer membership programs to

patients who sign a contract for telemedicine services, paid a set dollar amount
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per month, and paid a fee each time the customer has a telehealth encounter

with a physician.

                              COUNT ONE
(Conspiracy to Defraud the United States and Pay and Receive Kickbacks)
                         0-1 CREAGHAN HARRY
                         0-2 LESTER STOCKETT
                      0-3 ELLIOT LOEWENSTERN
      6.        Paragraphs 1 through 5 of the General Allegations section of this

Indictment are re—alleged and incorporated by reference as though fully set

forth herein.

      7.        From in or around 2015, and continuing through in or around the

present, in the District of New Jersey, and elsewhere, the defendants,

                                     CREAGHAN HARRY,
                                    LESTER STOCKEfl,
                                            and
                                   ELLIOT LOEWENSTERN
did intentionally and knowingly, combine, conspire, confederate, and agree

with each other, and others known and unknown to the Grand Jury, to:

                a.        defraud the United States by cheating the United States

government or any of its agencies out of money or property, or by impairing,

impeding, obstructing, and defeating through deceitful and dishonest means,

the lawful government functions of the United States Department of Health and

Human Services in its administration and oversight of Medicare; and

                b.        commit certain offenses against the United States, that is:

                     i.         to violate Title 42, United States Code, Section 1320a-

7b(b)(1)(A)-(B), by knowingly and willfully soliciting and receiving remuneration,

specifically, kickbacks and bribes, directly and indirectly, overtly and covertly,

in return for referring individuals for the furnishing and arranging for the


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furnishing of any item and service for which payment may be made in whole or

in part by Medicare, and in return for purchasing, leasing, ordering, and

arranging for and recommending purchasing, leasing, and ordering any good,

facility, service, and item for which payment may be made in whole or in part

under a Federal health care program; and

                 ii.     to violate Title 42, United States Code, Section 1320a-

7b(b)(2)(A)-(B), by knowingly and willfully offering and paying remuneration,

specifically, kickbacks and bribes, directly and indirectly, overtly and covertly,

in return for referring individuals for the furnishing and arranging for the

furnishing of any item and service for which payment may be made in whole or

in part by Medicare, and in return for purchasing, leasing, ordering, and

arranging for and recommending purchasing, leasing, and ordering any good,

facility, service, and item for which payment may be made in whole or in part

under a Federal health care program.


                            Object of the Conspiracy

      8.     It was the object of the conspiracy for defendants CREAGHAN

HARRY, LESTER STOCKE’Il’, ELLIOT LOEWENSTERN, and other co

conspirators to unlawfully enrich themselves by, among other things:       (a)

submitting or causing the submission of false and fraudulent claims to

Medicare for claims based on kickbacks and bribes; (b) submitting or causing

the submission of false and fraudulent claims to Medicare for services that

were (i) medically unnecessary; (ii) not eligible for Medicare reimbursement;

and/or (iii) not provided as represented; (c) concealing the submission of false

and fraudulent claims to Medicare and the receipt and transfer of the proceeds


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from the fraud; and (d) diverting proceeds of the fraud for the personal use and

benefit of the defendants and their co-conspirators.

                    Manner and Means of the Conspiracy

      9.    The manner and means by which the defendants and their co—

conspirators sought to accomplish the purpose of the conspiracy included,

among others, the following:

            a.     HARRY and STOCKETT created, owned, and/or controlled

the Video Doctor Network.

            b.     HARRY and STOCKEfl, through the Video Doctor Network,

recruited and hired health care providers, in the District of New Jersey and

elsewhere, to order braces for Medicare beneficiaries.

            c.     HARRY, STOCKEfl, and LOEWENSTERN solicited and

received illegal kickbacks and bribes from Person A and others in exchange for

the ordering, arranging for, and recommending the ordering of braces for

Medicare beneficiaries.

            d.     HARRY, STOCKEfl, LOEWENSTERN caused the Video

Doctor Network to receive Medicare beneficiary information in order for Video

Doctor Network health care providers to sign brace orders.

            e.     HARRY, STOCKEfl, and others facilitated ordering of braces

by refraining from charging a fee to Medicare beneficiaries or billing Medicare

for purported telemedicine consultations conducted by the Video Doctor

Network health care providers.

            f.     HARRY, STOCKEfl, and others, through the Video Doctor

Network, paid health care providers to order braces for Medicare beneficiaries

that were procured through the payment of kickbacks and bribes, medically
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unnecessary, ineligible for Medicare reimbursement, and/or not provided as

represented.

               g.   HARRY, STOCKEfl, LOEWENSTERN, and others

transferred brace orders to DME providers, Person A, recruiters, and others to

support false and fraudulent claims to Medicare that were submitted by DME

providers, located in the District of New Jersey and elsewhere.

               h.   HARRY, STOCKEfl, LOEWENSTERN, and others facilitated

and concealed the scheme by repeatedly making, or causing to be made, false

and fraudulent representations to investors, lawyers, doctors, and others,

including that beneficiaries enrolled in a membership program and paid

AffordADoc for the telemedicine consultations; AffordADoc was “profitable” and

“creating revenue of about $10 million per year, with 20% profit to the bottom

line”; and that the Video Doctor Network, and its owners or investors, did not

directly or indirectly receive money from DME providers or DME marketers.

               i.   HARRY, STOCKE’fl’, and others concealed and disguised the

payment and receipt of illegal kickbacks and bribes by causing them to be paid

to the Video Doctor Network indirectly through nominee companies and bank

accounts, opened by HARRY, STOCKE’fl’, and others in nominee names both

in the United States and in foreign countries, including the Dominican

Republic.   HARRY, STOCKETT, and others hid the existence of the foreign

companies and bank accounts by making, or causing to be made, false

statements to financial institutions and falsely reporting that they and others

had no influence over foreign bank accounts.

               j.   HARRY, STOCKEfl, and others also concealed and

disguised the scheme by entering into sham contracts and agreements,
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labeling payments as “marketing” or “business process outsourcing”

expenditures, and creating and maintaining false and fraudulent invoices.

             k.    HARRY, STOCKEfl, LOEWENSTERN, and others falsified,

fabricated, altered, and caused the falsification, fabrication, and alteration of

DME orders and other records all to support claims for DME that were

obtained through illegal kickbacks and bribes, medically unnecessary, not

eligible for Medicare reimbursement, and/or not provided as represented.

            1.     HARRY, STOCKEfl, LOEWENSTERN, and others caused the

DME providers to submit, and cause the submission of, an amount in excess of

approximately $424 million for DME orders that were obtained through illegal

kickbacks and bribes, medically unnecessary, not eligible for Medicare

reimbursement, and/or not provided as represented.       Medicare paid these

DME providers approximately in excess of $200 million for these claims.


                                    Overt Acts

      10.    In furtherance of the conspiracy and in order to accomplish the

objects thereof, Defendants HARRY, STOCKEfl, LOEWENSTERN, and their co

conspirators committed or caused the commission of the following overt acts in

the District of New Jersey and elsewhere:

      a.     In or around March 2016, HARRY, STOCKETF, LOEWENSTERN,

and others solicited and received an illegal kickback and bribe from Person A

and others in the form of a wire to Video Doctor USA’s bank account ending in

x6514 in the approximate amount of $71,200.

      b.     In or around August 2016, HARRY, STOCKEfl, LOEWENSTERN,

and others solicited and received an illegal kickback and bribe from Person A

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and others in the form of a wire to Latin American Call Centers’ bank account

ending in x54l4 in the approximate amount of $120,595.

      11.    In or around May 2017, HARRY, STOCKETF, LOEWENSTERN, and

others solicited and received an illegal kickback and bribe from Person A and

others in the form of a wire to Procall’s bank account ending in x5289 in the

approximate amount of $149,080.

      12.    In or around March 2019, HARRY, STOCKE’fl’, and

LOEWENSTERN solicited from Person A, who was located in the District of New

Jersey and elsewhere, and received an illegal kickback and bribe in the form of

an international wire to Procall’s bank account ending in x5289 in the

approximate amount of $171,501.


(All in violation of Title 18, United States Code, Section 371.)

                          COUNTS TWO THROUGH FIVE
               (Soliciting and Receiving of Health Care Kickbacks)
                             D-1 CREAGHAN HARRY
                             D-2 LESTER STOCKEfl
                           D-3 ELLIOT LOEWENSTERN

      13.    Paragraphs 1 through 5, and 9 through 12, of this Indictment are

re-alleged and incorporated by reference as though fully set forth herein.

      14.    On or about the dates set forth below, in the District of New

Jersey, and elsewhere, the defendants,

                              CREAGHAN HARRY,
                              LESTER STOCIKEfl,
                                      and
                             ELLIOT LOEWENSTERN

did knowingly and willfully solicit and receive remuneration (including

kickbacks and bribes), directly and indirectly, overtly and covertly, in cash and

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in kind, including by wire, as set forth below, in return for purchasing, leasing,

ordering, and arranging for or recommending purchasing, leasing, or ordering

any good, facility, service, or item for which payment may be made in whole or

in part by Medicare, as set forth below:


          I                       Originating
 Count             Date                                   Payee            Amount
                                    Account

    2          March 7, 2016       Company A        Video Doctor USA       $71,200

    3         August 31, 2016      Company A       Latin American Call     $120,595
                                                         Centers
   4           May 11, 2017        Company A             Procall           $149,080

   5          March 6, 2019       Company A               Procall          $171,501


(All in violation of 42 U.S.C.   § 1320a-7b(b)(1)(B) and 18 U.S.C. § 2.)
                                     COUNT SIX
                      (Conspiracy to Commit Money Laundering)
                               D-1 CREAGHAN HARRY
                               D-2 LESTER STOCKEfl

        15.     Paragraphs 1 through 5, and 9 through 12 of this Indictment are

re-alleged and incorporated by reference as though fully set forth herein.

        16.     From in or around March 2016 through in or around the present,

in the District of New Jersey, and elsewhere, the defendants,

                                  CREAGHAN HARRY,
                                        and
                                  LESTER STOCKETF
did knowingly, combine, conspire, confederate, and agree with each other, and

others known and unknown, to commit certain offenses against the United

States in violation of Title 18, United States Code, Sections 1956, to wit:




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             a.    to knowingly conduct and attempt to conduct financial

transactions affecting interstate and foreign commerce, which transactions

involved proceeds of specified unlawful activity, that is, a conspiracy to defraud

the United States and pay and receive kickbacks relating to a health care

benefit program, that is Medicare, knowing that the transactions were designed

in whole or in part to conceal and disguise the nature, location, source,

ownership, and control of the proceeds of specified unlawful activity, and that

while conducting and attempting to conduct such financial transactions, knew

that the property involved in the financial transactions represented the

proceeds of some form of unlawful activity, in violation of Title 18, United

States Code, Section 1956(a)(1)(B)(i);

             b.    to transport, transmit and transfer and attempt to transport,

transmit and transfer a monetary instrument and funds from a place in the

United States to and through a place outside the United States with the intent

to promote the carrying on of specified unlawful activity, in violation of Title 18,

United States Code, Section 1956(a)(2flA);

             c.    to transport, transmit, and transfer, and attempt to

transport, transmit, and transfer a monetary instrument or funds involving the

proceeds of specified unlawful activity, that is, a conspiracy to defraud the

United States and pay and receive kickbacks relating to a health care benefit

program, that is Medicare, from a place in the United States to or through a

place outside the United States, knowing that the funds involved in the

transportation, transmission, and transfer represented the proceeds of some

form of unlawful activity and knowing that such transportation, transmission,

and transfer was designed in whole or in part to conceal and disguise the
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nature, location, source, ownership, and control of the proceeds of specified

unlawful activity, in violation of Title 18, United States Code, Section

1 956(a)(2)(B)(i).

(All in violation of Title 18, United States Code, Section 1956(h).)


                          FORFEITURE ALLEGATIONS

 (18 U.S.C.   § 981(a)(1)(C) and 28 U.S.C. § 2461; 18 U.S.C. §982(a)(1) and (7)    —




                                Criminal Forfeiture)

       17.    The allegations contained in Counts 1-6 of this Indictment are re

alleged and incorporated by reference as though fully set forth herein for the

purpose of alleging forfeiture against defendants,

                               CREAGHAN HARRY,
                              LESTER STOCKEfl,
                                      and
                             ELLIOT LOEWENSTERN
pursuant to Title 18, United States Code, Sections 981 and 982, and Title 28,

United States Code, Section 2461.

       18.    Pursuant to Title 18, United States Code, Section 981(a)(1)(C),

together with Title 28, United States Code, Section 2461, upon being convicted

of the crime charged in Count 1 of this Indictment, the convicted defendants

shall forfeit to the United States any property, real or personal, which constitutes

or is derived from proceeds traceable to the commission of the offense.

       19.    Pursuant to Title 18, United States Code, Section 982(a)(7), upon

being convicted of the crimes charged in Counts 1 through 5 of this Indictment,

the convicted defendants shall forfeit to the United States any property, real or

personal, that constitutes or is derived, directly or indirectly, from gross proceeds

traceable to the commission of the offense.

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      20.      Pursuant to Title 18, United States Code, Section 982(a)(1), upon

being convicted of the crime charged in Count 6 of this Superseding Indictment,

the convicted defendants shall forfeit to the United States any property, real or

personal, involved in the offense, or any property traceable to such property.


                             Substitute Assets Provision

      21.      If any of the above-described forfeitable property, as a result of any

act or omission of the defendant:

            a. cannot be located upon the exercise of due diligence;

            b. has been transferred or sold to, or deposited with, a third person;

            c. has been placed beyond the jurisdiction of the Court;

            d. has been substantially diminished in value; or

            e. has been commingled with other property which cannot be

               subdivided without difficulty;


it is the intent of the United States, pursuant to Title 21, United States Code,

Section 853(p), as incorporated by Title 18 United States Code, Section 982(b),

to seek forfeiture of any other property of defendants CREAGHAN HARRY,

LESTER STOCKEfl, and ELLIOT LOEWENSTERN up to the value of the

forfeitable property described above.




                                                    A True Bill,




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CRAIG CAPENIT
United States Attorney


JOSEPH BEEMSTERBOER
Chief, Healthcare Fraud Unit
Criminal Division, Fraud Section


       FOSTER
       ssistant Chief
    inal Division, Fraud Section




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